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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                  Case Number: 18-23992-CIV-MARTINEZ-OTAZO-REYES

  COMMODITY FUTURES TRADING
  COMMISSION,

         Plaintiff,

  vs.

  TIMOTHY JOSEPH ATKINSON, JAY
  PASSERINO, ALL IN PUBLISHING, LLC,
  and GASHER, INC.,

        Defendants.
  _____________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
         THE MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States

  Magistrate Judge, for a Report and Recommendation on Temporary Receiver Melanie E. Damian’s

  Unopposed Fourth Interim Application for an Order Approving and Authorizing Payment of Fees

  and Expenses of Receiver and Her Professionals (“Fourth Motion for Fees”), [ECF No. 246].

  Magistrate Judge Otazo-Reyes filed a Report and Recommendation [ECF No. 248],

  recommending that the motion be granted. The Court has reviewed the entire record and notes

  that no objections have been filed. After careful consideration, it is hereby:

         ADJUDGED that United States Magistrate Judge Otazo-Reyes’s Report and

  Recommendation [ECF No. 248] is AFFIRMED and ADOPTED.

         Accordingly, it is:

         ORDERED AND ADJUDGED

         1.      The Receiver’s Fourth Motion for Fees, [ECF No. 246] is GRANTED.

         2.      The Receiver is authorized to pay fees and costs as follows:
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               a. $76,701.40 to herself and the Lead Counsel from the AIP Fiduciary Account;

               b. $16,890.00 to herself and the Lead Counsel from the Gasher Fiduciary Account;

               c. $3,267.83 to the Forensic Accountant from the AIP Fiduciary Account; and

               d. $4,179.05 to the Forensic Accountant from the Gasher Fiduciary Account.

        DONE AND ORDERED in Chambers at Miami, Florida, this 7th day of July, 2020.


                                                   ____________________________________
                                                   JOSE E. MARTINEZ
                                                   UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All Counsel of Record




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